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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                      X

NICOLE VITALE,

                                     Plaintiff,
                                                      e
                                                          Case No.: 17-cv-01810 (JGK)
                    - against -                       d
                                                      s   DECLARATION OF NIDHI
EQUINOX HOLDINGS, INC.,                               r   SRIVASTAVA, ESQ.
                                     Defendant.

                                                      X




                 NIDHI SRIVASTAVA, being duly sworn, deposes and states, pursuant to 28

U.S.C. § 1746:

       1.        I am an associate attorney at the law firm of Jackson Lewis P.C. (“Jackson Lewis”),

attorneys for Defendant Equinox Holdings, Inc. in the above-referenced matter. I submit this

declaration in support of the instant Motion to Withdraw as Counsel of Record.

       2.        I am leaving Jackson Lewis for other employment. My last day with Jackson Lewis

is December 21, 2018.

       3.        Jackson Lewis will continue its representation of Defendant in this matter.

       4.        Accordingly, I respectfully request Your Honor grant the instant Motion to

Withdraw as Counsel and terminate my appearance on the docket.




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      I declare under penalty of perjury that the foregoing is true and correct.

                                                    Respectfully submitted,

                                                    JACKSON LEWIS P.C.
                                                    666 Third Avenue, 29th Floor
                                                    New York, New York 10017
                                                    (212) 545-4000

                                             By:    s/ Nidhi Srivastava
                                                    Nidhi Srivastava

Dated: New York, New York
       December 21, 2018




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